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                                    TRIAL MINUTES

Cause No:           4:10-cv-1896
Style:              RICHARD WINFREY JR. vs. SAN JACINTO COUNTY, et al
Hearing Type:       Jury Trial – Day Two

Appearances:
Counsel                                         Representing
Elizabeth Wang                                  Richard Winfrey, Jr. and Megan Winfrey
Gayle Horn

William Helfand                                 Lenard Johnson
Norman Giles


Date: February 4, 2020                          Court Reporter: Nichole Forrest
Time: 9:05 - 10:40                              Case Manager: Susan Gram
      11:10 - 12:00
       1:25 - 2:50
       3:15 - 4:00
       4:15 - 5:25


At the trial, the following occurred, as stated on the record:

         1.    The Court read to the jury the Fifth Circuit’s instructions regarding this
               case.

         2.    Oral testimony of Richard Winfrey, Jr.

         3.    Oral testimony of Lenard Johnson.

         4.    Trial adjourned for the day to be reconvened on February 5, 2020 at 9:00
               AM.




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